      Case 2:21-cv-00107 Document 19 Filed on 02/23/22 in TXSD Page 1 of 1
                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                                February 23, 2022
                         UNITED STATES DISTRICT COURT
                                                                                Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION


COURTNEY MCCABE, et al.,                     §
                                             §
        Plaintiffs,                          §
                                             §
VS.                                          §   CIVIL ACTION NO. 2:21-CV-00107
                                             §
ZADOK TECHNOLOGIES INC,                      §
                                             §
        Defendant.                           §

                                  FINAL JUDGMENT
       Pursuant to the Court’s Order on the parties' Joint Motion to Dismiss (D.E. 18),

the Court enters final judgment dismissing this action with prejudice.

        ORDERED on February 23, 2022.

                                                 _______________________________
                                                 NELVA GONZALES RAMOS
                                                 UNITED STATES DISTRICT JUDGE




1/1
